                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
KATHLEEN EASTMAN, et al.,                             :
                                                      :
                       Plaintiffs,                    :
                                                      :
                       v.                             :       No. 21-2248 (MSG)
                                                      :
CITY OF PHILADELPHIA,                                 :
                                                      :
                       Defendant.                     :
                                                      :

         CITY OF PHILADELPHIA’S MOTION FOR SUMMARY JUDGMENT

       Defendant, the City of Philadelphia, by and through its attorneys, hereby files this Motion

for Summary Judgment pursuant to Federal Rule of Civil Procedure 56. In support of this Motion,

the City incorporates the attached Memorandum of Law. The City respectfully requests that this

Court enter judgment in favor of the City and against Plaintiffs as to all counts.

                                              Respectfully submitted:


Date: 1/19/2023                               /s/Michelle L. Reinhart
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